       Case 4:12-cr-00041-JM         Document 419        Filed 10/31/16     Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                   NO. 4:12CR00041-03 JLH

REBECCA LUCILLE SPRAY                                                            DEFENDANT

                                            ORDER

       Court convened on September 13, 2016, for a scheduled revocation hearing in this matter.

The Court determined that the motion to revoke would be held in abeyance until October 26, 2016,

and that if no additional violations were reported the motion to revoke would be dismissed.

       The motion to revoke supervised release is dismissed. Document #407. The defendant’s

term of supervision is hereby concluded, and she is released from supervision.

       IT IS SO ORDERED this 31st day of October, 2016.




                                                    _________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
